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                                       EXHIBIT 4

                        Changed Pages of DIP ABL Credit Agreement




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                 SECOND AMENDED AND RESTATED AND SENIOR SECURED
                SUPER-PRIORITY DEBTOR-IN-POSSESSION CREDIT AGREEMENT

                             Dated as of September ____10, 2015


                                            among

                                     QS WHOLESALE, INC.
                                     as the Lead Borrower,

                                       QUIKSILVER, INC.
                                          as Parent,

             The Other Borrowers and Guarantors From Time to Time Party Hereto

          BANK OF AMERICA, N.A. (including through its global branches and affiliates)
                                  as Administrative Agent,

                         BANK OF AMERICA, NATIONAL ASSOCIATION
                               as Australian Security Trustee,


                                   BANK OF AMERICA, N.A.
                                     as Collateral Agent,

                                              and

                                   The Lenders Party Hereto

                  MERRILL LYNCH, PIERCE, FENNER & SMITH INCORPORATED,
                                     as Lead Arranger




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                     SECOND AMENDED AND RESTATED AND SENIOR SECURED
                    SUPER-PRIORITY DEBTOR-IN-POSSESSION CREDIT AGREEMENT

       This SECOND AMENDED AND RESTATED AND SENIOR SECURED SUPER-PRIORITY DEBTOR-IN-
POSSESSION CREDIT AGREEMENT is entered into as of September ____10, 2015 among

       QS WHOLESALE, INC., a California corporation (the “Lead Borrower”);

       the Persons named on Schedule 1.01 hereto (collectively, with the Lead Borrower and each
other Person that from time to time becomes a “Domestic Borrower” hereunder, the “Domestic
Borrowers”);

       QUIKSILVER CANADA CORP., a Nova Scotia unlimited liability company (the “Canadian
Borrower”);

        UG MANUFACTURING CO. PTY LTD, a proprietary limited company organized under the laws
of Australia (the “Australian Borrower”);

       QUIKSILVER JAPAN CO., LTD., a Japanese Kabushiki Kaisha (the “Japanese Borrower”);

       QUIKSILVER, INC., a Delaware corporation (the “Parent”);

       the Persons named on Schedules 1.02(a) and 1.02(b) hereto (collectively, with each other
Person that from time to time becomes a “Guarantor” hereunder, the “Guarantors”);

       each lender from time to time party hereto;

       BANK OF AMERICA, N.A., as Administrative Agent and L/C Issuer;

       BANK OF AMERICA, NATIONAL ASSOCIATION, as Australian Security Trustee; and

       BANK OF AMERICA, N.A., as Collateral Agent.

                                     PRELIMINARY STATEMENTS

        Certain of the Loan Parties, the Administrative Agent, the Collateral Agent and certain of the
Lenders, among others, have entered into an Amended and Restated Credit Agreement dated as of
May 24, 2013 (as amended from time to time and currently in effect immediately prior to the
effectiveness of this Agreement, the “Existing ABL Credit Agreement”).

         On September [___]9, 2015 (the “Petition Date”), each of the Domestic Loan Parties (as
defined herein, collectively, the “Debtors”) filed a voluntary petition for relief (collectively, the
“Cases”) under Chapter 11 of the Bankruptcy Code with the United States Bankruptcy Court for the
District of Delaware (the “Bankruptcy Court”). The Debtors are continuing in the possession of their
assets and continuing to operate their respective businesses and manage their respective properties
as debtors and debtors in possession under Sections 1107(a) and 1108 of the Bankruptcy Code.

        The Debtors and the other Loan Parties have requested that (a) the Lenders make available
to the Domestic Borrowers, from and after the date of entry of the Interim Order (the “Interim Order
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Date”), a senior secured, super-priority debtor-in-possession revolving credit facility and (b) that the
terms of the Existing ABL Credit Agreement be amended and restated in their entirety, all on the
terms and conditions set forth herein.

         In furtherance of the foregoing, the Debtors and the other Loan Parties have also requested
that (a) on the Interim Order Date (or within one Business Day thereafter), the Canadian Lenders and
the Australian Lenders, respectively, shall make loans to each of the Canadian Borrower and the
Australian Borrower, respectively, in an amount equal to the principal balance of the Credit
Extensions owed to General Electric Capital Corporation and Wells Fargo Bank, National Association
and their respective Affiliates by each such Borrower as of the Petition Date, the proceeds of such
loans shall be used to repay such lenders the aggregate amount of their respective Credit Extensions,
in each case, upon the terms and subject to the conditions set forth herein.

         To provide security for the repayment of all obligations of the Loan Parties hereunder and
under the other Loan Documents, and in addition to all other all other property of any Loan Party
that is subject to the Liens granted on the “Collateral” (as defined in the Existing ABL Credit
Agreement) in favor of any Agent securing the Existing ABL Obligations (as defined herein) (such
Liens, the “Existing ABL Liens”), each of the Debtors will provide to the Agent (for the benefit of the
Credit Parties) the following (as more fully described herein):

         (a)    pursuant to Section 364(c)(1) of the Bankruptcy Code and the Orders (as defined
herein), as applicable, a DIP Superpriority Claim in the Cases and any Successor Cases (without the
need to file a proof of claim) for all of the Obligations with priority over any and all administrative
expense claims and unsecured claims of any entity against the Debtors or their estates, including,
without limitation, any claims specified in or ordered pursuant to Sections 105, 326, 328, 330, 331,
365, 503(a), 503(b), 507(a), 507(b) (except as set forth in the Orders), 546(c), 546(d), 726 (to the
extent permitted by law), 1113, and 1114 or any other provisions of the Bankruptcy Code, which shall
at all times be senior to the rights of the Debtors and their estates, and any successor trustee or
other estate representative, subject only to Permitted Encumbrances (as defined herein) and the
Carve-Out (as defined herein),

        (b)     pursuant to Section 364(c)(2) of the Bankruptcy Code and the Orders, as applicable,
an automatically perfected, valid, enforceable, unavoidable, and first-priority security interest and
Lien on all Collateral and assets of the Borrower and the other Loan Parties of any kind (including,
subject to the entry of the Final Order, the proceeds of Avoidance Actions), whether now existing or
hereafter acquired that is not subject to a valid, perfected, and non-avoidable lien in existence on the
Petition Date, which first-priority liens and security interests shall be perfected without necessity of
the execution or filing of mortgages, security agreements, pledge agreements, financing statements
or other agreements or documents, subject only to Permitted Encumbrances and the Carve-Out,

        (c)     pursuant to Section 364(c)(3) of the Bankruptcy Code and subject to clause (d) below,
an automatically valid, enforceable, unavoidable and perfected Lien on the property of the Borrower
and the other Loan Parties as more fully described herein subject to (i) unavoidable valid and
perfected Liens in existence at the time of the commencement of the Cases, (ii) unavoidable valid
Liens in existence at the time of such commencement that are perfected subsequent to such
commencement as permitted by Section 546(b) of the Bankruptcy Code (the Liens described in clause
(i) above and this clause (ii), being “Existing Liens”), other than with respect to the Primed Liens (as

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       “Agent Parties” has the meaning specified in Section 10.02(c).

        “Agent(s)” means, individually, the Administrative Agent, the Australian Security Trustee, or
the Collateral Agent, and collectively means all of them.

        “Aggregate Applicable Commitments” means, at any time of determination, the Aggregate
Domestic Commitments, the Aggregate Australian Commitments, the Aggregate Canadian
Commitments or the Aggregate Japanese Commitments, as the context may require.

        “Aggregate Australian Commitments” means the Australian Commitments of all the
Australian Lenders; provided that, after the initial Australian Loan to be made on the Effective Date,
the Aggregate Australian Commitments shall be terminated.

       “Aggregate Canadian Commitments” means the Canadian Commitments of all the Canadian
Lenders; provided that, after the initial Canadian Loan to be made on the Effective Date, the
Aggregate Canadian Commitments shall be terminated.

       “Aggregate Domestic Commitments” means the Domestic Commitments of all the Domestic
Lenders. As of the Effective Date, the Aggregate Domestic Commitments are $60,000,000.

       “Aggregate Japanese Commitments” means the Japanese Commitments of all the Japanese
Lenders; provided that, effective immediately on the Effective Date, the Aggregate Japanese
Commitments shall be terminated.

       “Aggregate Total Commitments” means, at any time of determination, the sum of the
Aggregate Domestic Commitments, the Aggregate Australian Commitments, the Aggregate Canadian
Commitments and the Aggregate Japanese Commitments; provided that, after the initial Canadian
Loan and the initial Australian Loan to be made on the Effective Date, the Aggregate Total
Commitments shall be equal to the Domestic Commitments at such time of determination.

        “Agreement” means this Second Amended and Restated and Senior Secured Super-Priority
Debtor-In-Possession Credit Agreement.

       “Allocable Amount” has the meaning specified in Section 10.23(d).

       “Alternative Currency” means each of Euro, Sterling, Yen, Canadian Dollars, Australian Dollars
and each other currency (other than Dollars) that is approved in accordance with Section 1.09.

        “Alternative Currency Equivalent” means, at any time, with respect to any amount
denominated in Dollars, the equivalent amount thereof in the applicable Alternative Currency as
determined by the Administrative Agent or the L/C Issuer, as the case may be, at such time on the
basis of the Spot Rate (determined in respect of the most recent Revaluation Date) for the purchase
of such Alternative Currency with Dollars.

          “Americas/Foreign Consolidated” means, when used to modify a financial term, test,
statement, or report of the Parent, the application or preparation of such term, test, statement or
report (as applicable) based upon the financial condition or operating results of the Americas/Foreign


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        “Australian L/C Borrowing” means an extension of credit resulting from a drawing under any
Australian Letter of Credit which has not been reimbursed on or prior to the date required to be
reimbursed by the Australian Borrower pursuant to Section 2.03(c)(i) or refinanced as a Committed
Australian Borrowing.

       “Australian L/C Obligations” means, as at any date of determination and without duplication,
the aggregate Stated Amount of all outstanding Australian Letters of Credit plus the aggregate of all
Unreimbursed Amounts under Australian Letters of Credit, including all Australian L/C Borrowings.

        “Australian Lenders” means the Lenders having Australian Commitments from time to time or
at any time.

        “Australian Letter of Credit” means each Existing Letter of Credit issued for the account of the
Australian Borrower.

         “Australian Liabilities” means (a) all advances to, and debts (including principal, interest, fees,
costs, and expenses), liabilities, obligations, covenants, indemnities, and duties of, any Australian Loan
Party arising under any Loan Document or otherwise with respect to any Australian Loan or
Australian Letter of Credit (including payments in respect of reimbursement of disbursements,
interest thereon and obligations to provide cash collateral therefor), whether direct or indirect
(including those acquired by assumption), absolute or contingent, due or to become due, now
existing or hereafter arising and including interest, fees, costs and expenses that accrue after the
commencement by or against any Australian Loan Party of any proceeding under any Debtor Relief
Laws naming such Person as the debtor in such proceeding, regardless of whether such interest and
fees are allowed claims in such proceeding, and (b) any Other Australian Liabilities.

       “Australian Loan” means an extension of credit by aan Australian Lender to the Australian
Borrower under Article II in the form of a Committed Loan.

        “Australian Loan Cap” means, at any time of determination, the lesser of (a) $______1
11,500,000 reduced by any repayments of the Australian Liabilities, and (b) the Australian Borrowing
Base.

        “Australian Loan Parties” means, collectively, the Australian Borrower and each Australian
Subsidiary that is a Guarantor of the Australian Liabilities. “Australian Loan Party” means any one of
such Persons.

         “Australian Note” means a promissory note made by the Australian Borrower in favor of aan
Australian Lender evidencing Australian Loans made by such Australian Lender, in form and substance
in satisfactory to the Administrative Agent and each applicable Lender.




        1
          To be inserted on the Effective Date by the Administrative Agent, reflecting the amount of
Australian Liabilities outstanding on the Petition Date.

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       “Blocked Account” has the meaning provided in Section 6.14(a)(ii).

        “Blocked Account Agreement” means, with respect to a Blocked Account established by a
Loan Party, an agreement, in form and substance reasonably satisfactory to the applicable Agent,
establishing control (as defined in the UCC, in the PPSA or in the Australian PPSA, as applicable) of
such Blocked Account by the applicable Agent (for the benefit of itself and the other applicable Credit
Parties) and whereby the bank maintaining such account agrees to comply only with the instructions
originated by the applicable Agent without the further consent of any Loan Party.

        “Blocked Account Bank” means Bank of America, N.A., Bank of America, N.A. (acting through
its Canada branch), Commonwealth Bank of Australia, and each other bank with whom deposit
accounts are maintained in which any funds of any of the Loan Parties from one or more DDAs are
concentrated and with whom a Blocked Account Agreement has been, or is required to be, executed
in accordance with the terms hereof.

        “Boardriders Notes” means the 8.875% senior unsecured notes due December 15, 2017
issued pursuant to the Boardriders Notes Indenture.

        “Boardriders Notes Indenture” means that certain indenture dated December 15, 2010 among
Boardriders S.A., a company incorporated pursuant to the laws of the Grand Duchy of Luxembourg,
as issuer, the Borrower, as a guarantor thereunder, Deutsche Trustee Company Limited as trustee (or
any successor trustee thereof) and certain other parties.

        “Boardriders Notes Trustee” means Deutsche Trustee Company Limited (or any successor
trustee).

        “Boardriders Waiver” means the waiver and support agreements executed by certain holders
of the Boardriders Notes.

       “Borrower Materials” has the meaning specified in Section 6.02.

       “Borrowers” means, collectively, the Domestic Borrowers, the Australian Borrower, the
Japanese Borrower and the Canadian Borrower.

       “Borrowing” means a Committed Borrowing.

        “Borrowing Base” means, as the context may require, the Domestic Borrowing Base or the
Applicable Foreign Borrowing Base.

       “Borrowing Notice” has the meaning set forth in Section 2.02(a).

         “Budget” means the cash flow forecast attached hereto as Exhibit N, with such adjustments
thereto as are approved in writing by the Required Lenders in their sole discretion (including, without
limitation, the approval, if and when so granted, of a revised Budget proposed pursuant to Section
6.01(f)); provided, that in the event that the Borrower requests a Supplemental Term Loan (as
defined in the DIP Term Agreement), the Budget shall be deemed to have been adjusted to
incorporate the borrowing of such Supplemental Term Loan and the use of proceeds thereof.


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Assumption pursuant to which such Canadian Lender becomes a party hereto, as applicable, as such
amount may be adjusted from time to time in accordance with this Agreement.

        “Canadian Concentration Account” means the account maintained by the Administrative
Agent at Bank of America (acting through its Canada branch) into which cash receipts and collections
of the Canadian Loan Parties (including, without limitation, from the Collateral) are deposited to the
extent required hereby or by any other Loan Document.

        “Canadian Credit Extensions” means a Canadian Borrowing.

       “Canadian Credit Party” or “Canadian Credit Parties” means (a) individually, (i) each Canadian
Lender and its Lender Affiliates, (ii) the Agents and their respective Lender Affiliates and (iii) the
successors and assigns of each of the foregoing, and (b) collectively, all of the foregoing.

        “Canadian Facility” means the revolving credit facility in favor of the Canadian Borrower
established pursuant to this Agreement.

         “Canadian Lenders” means the Lenders having Canadian Commitments from time to time or
at any time (or if the Canadian Commitments have been terminated, the Lenders holding any
Canadian Liabilities from time to time or at any time). Any Person may be a Canadian Lender only if
it is a financial institution that is listed on Schedule I, II or III of the Bank Act (Canada) or is not a
foreign bank for purposes of the Bank Act (Canada), and if such financial institution is not resident in
Canada and is not deemed to be resident in Canada for purposes of the Income Tax Act (Canada),
then such financial institution deals at arm’s length with each Canadian Loan Party for purposes of
the Income Tax Act (Canada).

        “Canadian Liabilities” means (a) all advances to, and debts (including principal, interest, fees,
costs, and expenses), liabilities, obligations, covenants, indemnities, and duties of, any Canadian Loan
Party arising under any Loan Document or otherwise with respect to any Canadian Loan, whether
direct or indirect (including those acquired by assumption), absolute or contingent, due or to become
due, now existing or hereafter arising and including interest, fees, costs and expenses that accrue
after the commencement by or against any Canadian Loan Party of any proceeding under any Debtor
Relief Laws naming such Person as the debtor in such proceeding, regardless of whether such
interest and fees are allowed claims in such proceeding, and (b) any Other Canadian Liabilities.

       “Canadian Loan” means an extension of credit by a Canadian Lender to the Canadian
Borrower under Article II in the form of a Committed Loan.

       “Canadian Loan Cap” means, at any time of determination, the lesser of (a)
$[____]210,100,000,
                  reduced by any repayments of the Canadian Liabilities and (b) the Canadian
Borrowing Base.




        2
        To be inserted on the Effective Date by the Administrative Agent, reflecting the amount
of Canadian Liabilities outstanding on the Petition Date.

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or LIBO Rate Loans, having the same Interest Period made by each of the Australian Lenders pursuant
to Section 2.01. having the same Interest Period made by each of the Canadian Lenders pursuant to
Section 2.01.

       “Committed Canadian Loan” means any loan at any time made by any Canadian Lender
pursuant to Section 2.01.

       “Committed Domestic Borrowing” means a borrowing consisting of simultaneous Committed
Domestic Loans of the same Type, in the same currency and, in the case of LIBO Rate Loans, having
the same Interest Period made by each of the Domestic Lenders pursuant to Section 2.01.

        “Committed Domestic Loan” means any loan at any time made by any Domestic Lender
pursuant to Section 2.01.

        “Committed Foreign Loan” means, as the context may require, any Committed Canadian
Loan, any Committed Australian Loan and any Committed Japanese Loan.

        “Committed Japanese Borrowing” means a borrowing consisting of simultaneous Committed
Japanese Loans of the same Type, in the same currency and, in the case of TIBOR Rate Loans or LIBO
Rate Loans, having the same Interest Period made by each of the Japanese Lenders pursuant to
Section 2.01.

       “Committed Japanese Loan” means any loan at any time made by any Japanese Lender
pursuant to Section 2.01.

      “Committed Loan” means, as the context may require, any Committed Domestic Loan, any
Committed Canadian Loan, any Committed Australian Loan and any Committed Japanese Loan.

        “Committed Loan Notice” means a notice of (a) a Committed Borrowing, (b) a conversion of a
Committed Loan from one Type to the other, or (c) a continuation of a LIBO Rate Loan, a Canadian
BA Rate Loan, a BBR Rate Loan or a TIBOR Rate Loan, as applicable, pursuant to Section 2.02(b),
which, if in writing, shall be substantially in the form of Exhibit A-1 (Domestic Committed Loan
Notice) or Exhibit A-2 (Foreign Committed Loan Notice), as applicable.

       “Committee” means an official committee of unsecured creditors appointed in the Cases
pursuant to section 1102 of the Bankruptcy Code.

       “Committee Investigation Budget” has the meaning given such term in Section 7.20(b).

      “Commodity Exchange Act” means the Commodity Exchange Act (7 U.S.C. § 1 et seq.), as
amended from time to time and any successor Law.

       “Concentration Account” means (a) individually, each North American Concentration Account
and each Foreign Concentration Account, and (b) collectively, all of the foregoing.

       “Connection Income Tax” means Other Connection Taxes that are imposed or measured by
income (however denominated) or that are franchise Taxes or branch profits Taxes.


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Parties who are not the Administrative Agent, MLPFS, the L/C Issuer or any Lender Affiliate of any of
them in connection with the enforcement of the Credit Parties’ rights and remedies under any of the
Loan Documents or applicable Law including in the course of any work-out or restructuring of the
Loans or other Obligations during the pendency of any Event of Default, provided that such Credit
Parties shall be entitled to reimbursement for no more than one counsel representing all such Credit
Parties (absent a conflict of interest in which case the Credit Parties may engage and be reimbursed
for additional counsel).

         “Currency Recalculation” has the meaning set forth in Section 2.05(k).

        “Customer Credit Liabilities” means, at any time, the aggregate remaining value at such time
of (a) outstanding gift certificates and gift cards of the Borrowing Base Parties entitling the holder
thereof to use all or a portion of the certificate or gift card to pay all or a portion of the purchase
price for any Inventory, and (b) outstanding merchandise credits and customer deposits (including,
without limitation, on account of layaway transactions) of the Borrowing Base Parties.

        “Customs Broker Agreement” means an agreement in form and substance satisfactory to the
Agents and (if a party thereto) the Administrative Agent, among a North America Borrowing Base
Party, a customs broker, NVOCC or carrier, and the Administrative Agent, in which the customs
broker, NVOCC or carrier acknowledges that it has control over and holds the documents evidencing
ownership of the subject Inventory or other property for the benefit of the Administrative Agent, and
agrees, upon notice from the Administrative Agent to hold and dispose of the subject Inventory and
other property solely as directed by the Administrative Agent.

        “DDA” means any checking, savings or other deposit account maintained by any of the Loan
Parties. All funds in each DDA shall be conclusively presumed to be Collateral or the proceeds of
Collateral and the Credit Parties shall have no duty to inquire as to the source of the amounts on
deposit in any DDA.

        <“Debtors” has the meaning set forth in the recitals hereto.>

        “Debtor Relief Laws” means each of (i) the Bankruptcy Code, (ii) the Bankruptcy and
Insolvency Act (Canada), the Companies’ Creditors Arrangement Act (Canada) and the Winding-up
and Restructuring Act (Canada), (iii) with respect to Japan, the Bankruptcy Act (Japan), the Civil
Rehabilitation Act (Japan) and the Corporate Reorganization Act (Japan), (iv) with respect to Australia,
the Corporations Act, and (v) all other liquidation, conservatorship, bankruptcy, assignment for the
benefit of creditors, moratorium, rearrangement, receivership, insolvency, reorganization, or similar
debtor relief Laws of the United States, Canada, Australia, Japan or other applicable jurisdictions from
time to time in effect and affecting the rights of creditors generally.

        >“Debtors” has the meaning set forth in the recitals hereto.<

        “Default” means any event or condition that constitutes an Event of Default or that, with the
giving of any notice, the passage of time, or both, would be an Event of Default.

        “Default Rate” means (a) when used with respect to Obligations other than Letter of Credit
Fees, or Foreign Liabilities, an interest rate equal to (i) the Prime Rate plus (ii) the Applicable Margin,
if any, applicable to Domestic Prime Rate Loans, plus (iii) two percent (2%) per annum; provided,

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rata reduction in the Domestic Letter of Credit Sublimit; provided, however, that if the Aggregate
Domestic Commitments are reduced to an amount less than the Domestic Letter of Credit Sublimit,
then the Domestic Letter of Credit Sublimit shall be reduced to an amount equal to (or, at Lead
Borrower’s option, less than) the Aggregate Domestic Commitments.

       “Domestic Loan” means an extension of credit by a Domestic Lender to the Domestic
Borrowers under Article II in the form of a Committed Loan.

      “Domestic Loan Cap” means, at any time of determination, the lesser of (a) the Aggregate
Domestic Commitments minus the Foreign Liability Reserve and (b) the Domestic Borrowing Base.

        “Domestic Loan Parties” means, collectively, the Parent, the Domestic Borrowers and each
Domestic Subsidiary that is a Guarantor of the Obligations. “Domestic Loan Party” means any one of
such Persons.

         “Domestic Note” means a promissory note made by the Domestic Borrowers in favor of a
Domestic Lender evidencing Domestic Loans made by such Domestic Lender, in form and substance
in satisfactory to the Administrative Agent and each applicable Lender.

        “Domestic Overadvance” means a Domestic Credit Extension to the extent that, immediately
after the making of such Domestic Credit Extension, the aggregate principal balance of all Domestic
Credit Extensions then outstanding exceeds the Domestic Loan Cap as then in effect.

       “Domestic Prime Rate Loan” means a Loan that bears interest based on the Prime Rate.

        “Domestic Subsidiary” means any Subsidiary that is organized under the laws of any political
subdivision of the United States.

      “E-Commerce Agreement” means that certain Amended and Restated E-Commerce
Agreement dated as of September 6, 2011 by and between QS Retail, Inc. and GSI.

        “Effective Date” means the first date on which the conditions set forth in Sections 4.01 and
4.02 have been satisfied or waived by the Agent and the Lenders.

        “Eligible Assignee” means (a) a Lender or any of its Lender Affiliates; (b) a bank, insurance
company, or company engaged in the business of making commercial loans, which Person, together
with its Lender Affiliates, has a combined capital and surplus in excess of $250,000,000; (c) an
Approved Fund; (d) any Person to whom a Lender assigns its rights and obligations under this
Agreement as part of an assignment and transfer of such Lender’s rights in and to a material portion
of such Lender’s portfolio of asset based credit facilities, and (e) any other Person (other than a
natural person) approved by (i) the Administrative Agent and the L/C Issuer (each such approval not
to be unreasonably withheld or delayed); provided that notwithstanding the foregoing, “Eligible
Assignee” shall not include the Parent or any of its Subsidiaries or other Affiliates.

         “Eligible Credit Card Receivables” means, at the time of any determination thereof, each
Credit Card Receivable that satisfies the following criteria at the time of creation and continues to
meet the same at the time of such determination: such Credit Card Receivable (i) has been earned by
performance and represents the bona fide amounts due to a North America Borrowing Base Party

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       “Existing ABL Credit Agreement Collateral Account” means a funded escrow account in the
sum of $250,000 established under the Orders to secure any contingent indemnification obligations
under the Existing ABL Credit Agreement.

        “Existing Letters of Credit” means the letters of credit outstanding on the Effective Date
issued under the Existing ABL Credit Agreement and described on Schedule 1.04 hereto.

         “Existing Liens” shall have the meaning set forth in the recitals hereto.

         “Existing Notes Intercreditor Agreement” means that certain Second Amended and Restated
Intercreditor Agreement, dated as of July 16, 2013, between the Administrative Agent and the
Existing Senior Secured Note Agent.

        “Existing Senior Secured Indenture” means that certain Indenture dated July 16, 2013,
pursuant to which Parent, as issuer, issued $280 million in aggregate initial principal amount of
7.875% senior secured notes due 2018, with U.S. Bank National Association (successor in interest to
Wells Fargo Bank, National Association), as trustee and collateral agent.

         “Existing Senior Secured Note Collateral Agent” means U.S. Bank National Association.

         “Existing Senior Secured Note Documents” means the “Notes Documents” as defined in the
Existing Senior Secured Indenture.

       “Existing Senior Secured Note Liens” means the “Note Liens” in favor of the Existing Senior
Secured Note Collateral Agent, as defined in the Existing Senior Secured Indenture.

         “Existing Senior Secured Note Obligations” means all “Note Obligations” as defined in the
Existing Senior Secured Indenture.

         “Existing Senior Secured Noteholders” means the holders of the 7.875% Senior Secured
Notes.

         “Facility Guaranty” means (a) that certain Amended and Restated Guarantee of the
Obligations made by each Guarantor that is a Domestic Loan Party in favor of the Administrative
Agent and the other Credit Parties, dated as of May 24, 2013, and (b) that certain Guarantee of the
Australian Liabilities, the Canadian Liabilities and the Japanese Liabilities made by each Guarantor
that is a Foreign Loan Party in favor of the Administrative Agent and the other Foreign Credit Parties,
dated as of May 24, 2013, as each has been ratified and confirmed pursuant to the
ConfirmationReaffirmation Agreement.

        “FATCA” means Sections 1471 through 1474 of the Code, as of the date of this Agreement (or
any amended or successor version that is substantively comparable and not materially more onerous
to comply with), any current or future regulations or official interpretations thereof, any
intergovernmental agreements related thereto, and any agreements entered into pursuant to Section
1471(b)(1) of the Code.

        “Federal Funds Rate” means, for any day, the rate per annum equal to the weighted average
of the rates on overnight Federal funds transactions with members of the Federal Reserve System
arranged by Federal funds brokers on such day, as published by the Federal Reserve Bank of New
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to pay off loans outstanding under the Existing ABL Credit Agreement that are not held by the
Lenders. Each Interim Order Intercompany Loan shall, (i) secured to the extent required by the DIP
Term Loan Agreement, (ii) not include any scheduled or mandatory payments prior to the maturity or
acceleration thereof, (iii) accrue interest at 5% per annum, all paid-in-kind on quarterly (and
compounding) basis, (iv) have a maturity of not less than one (1) year from the Interim Order Date,
(v) have no covenants other than the agreement to repay the loan on the maturity date and grant
the security, on a post-closing basis, contemplated by clause (i), (vi) be cross-defaulted to an Event of
Default under this Agreement; (vii) provide that the exercise of any rights or remedies of the secured
lender shall be subject to the consent of the Administrative Agent; (viii) be pledged as security for
the Obligations in a manner satisfactory to the Administrative Agent; and (ix) not be amended,
modified or accelerated without the consent of the Administrative Agent.

        “Interim Order Date” has the meaning set forth in the recitals hereto.

       “Interim Order Period” means the period of time from the time at which the Bankruptcy
Court enters the Interim Order until the time at which the Bankruptcy Court enters the Final Order.

        “Internal Control Event” means a material weakness in, or fraud that involves management or
other employees who have a significant role in, the Parent’s and/or its Subsidiaries’ internal controls
over financial reporting, in each case as described in the Securities Laws.

        “In-Transit Inventory” means Inventory of a North America Borrowing Base Party that is in
the possession of a common carrier and is in transit from a foreign location to either (a) with respect
to Inventory of a Domestic Borrower, a location of such Domestic Borrower (or a location designated
by such Domestic Borrower) that is in the United States or (b) with respect to Inventory of a
Canadian Loan Party, a location of such Canadian Loan Party (or a location designated by such
Canadian Loan Party) that is in Canada.

         “Inventory” means all “inventory” as defined in the UCC, the PPSA or the Australian PPSA, as
applicable, and shall also include, without limitation, all: (a) goods which (i) are leased by a Person as
lessor, (ii) are held by a Person for sale or lease or to be furnished under a contract of service, (iii)
are furnished by a Person under a contract of service, or (iv) consist of raw materials, work in
process, or materials used or consumed in a business; (b) goods of said description in transit; (c)
goods of said description which are returned, repossessed or rejected; and (d) packaging, advertising,
and shipping materials related to any of the foregoing.

         “Inventory Reserves” means, without duplication of any other Reserves or items that are
otherwise addressed or excluded through eligibility criteria, such reserves as may be established from
time to time by any Agent in its Permitted Discretion with respect to the determination of the
saleability, at retail or wholesale, of the Eligible Inventory or which reflect such other factors as affect
the market value of the Eligible Inventory. Without limiting the generality of the foregoing, Inventory
Reserves may, in the Permitted Discretion of any Agent, include (but are not limited to) reserves
based on:

                (a)     obsolescence;

                (b)     seasonality;


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        Japanese Borrowing Base be duplicative of Availability Reserves subtracted in calculating any
        other Borrowing Base.

          “Japanese Commitments” means, as to each Japanese Lender, its obligation to make
Committed Japanese Loans to the Japanese Borrower pursuant to Section 2.01, in an aggregate
principal amount at any one time outstanding not to exceed the amount set forth opposite such
Japanese Lender’s name on Schedule 2.01 or in the Assignment and Assumption pursuant to which
such Japanese Lender becomes a party hereto, as applicable, as such amount may be adjusted from
time to time in accordance with this Agreement.

        “Japanese Concentration Account” means the account maintained by the Administrative
Agent at Bank of America, N.A. (Japan branch) into which cash receipts and collections of the
Japanese Loan Parties (including, without limitation, from the Collateral) are deposited to the extent
required hereby or by any other Loan Document.

       “Japanese Credit Party” or “Japanese Credit Parties” means (a) individually, (i) each Japanese
Lender and its Lender Affiliates, (ii) the Agents and their respective Lender Affiliates, and (iii) the
successors and assigns of each of the foregoing, and (b) collectively, all of the foregoing.

       “Japanese Depository Banks” means each of The Bank of Tokyo – Mitsubishi UFJ Ltd., Mizuho
Bank Ltd., Sumitomo Mitsui Banking Corporation, Tokyo Tomin Bank, The Bank of Yokohama, Ltd. and
Resona Bank, Limited.

        “Japanese Facility” means the revolving credit facility in favor of the Japanese Borrower
established pursuant to this Agreement.

        “Japanese Lenders” means the Lenders having Japanese Commitments from time to time or
at any time.

        “Japanese Liabilities” means (a) all advances to, and debts (including principal, interest, fees,
costs, and expenses), liabilities, obligations, covenants, indemnities, and duties of, any Japanese Loan
Party arising under any Loan Document or otherwise with respect to any Japanese Loan, whether
direct or indirect (including those acquired by assumption), absolute or contingent, due or to become
due, now existing or hereafter arising and including interest, fees, costs and expenses that accrue
after the commencement by or against any Japanese Loan Party of any proceeding under any Debtor
Relief Laws naming such Person as the debtor in such proceeding, regardless of whether such
interest and fees are allowed claims in such proceeding, and (b) any Other Japanese Liabilities.

       “Japanese Loan” means an extension of credit by a Japanese Lender to the Japanese
Borrower under Article II in the form of a Committed Loan.




        3
         To be inserted on the Effective Date by the Administrative Agent, reflecting the amount
of Japanese Liabilities owing to Bank of America and outstanding on the Petition Date.



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        “Japanese Loan Cap” means, at any time of determination, the lesser of (a) $_______,3
3,050,000 reduced by any repayments of the Japanese Liabilities and (b) the Japanese Borrowing
Base.

        “Japanese Loan Parties” means, collectively, the Japanese Borrower and each Japanese
Subsidiary that is a Guarantor of the Japanese Liabilities. “Japanese Loan Party” means any one of
such Persons.

        “Japanese Overadvance” means a Japanese Credit Extension to the extent that, immediately
after the making of such Japanese Credit Extension, the aggregate principal balance of all Japanese
Credit Extensions then outstanding exceeds the Japanese Loan Cap as then in effect.

         “Japanese Priority Payable Reserve” means, on any date of determination, a reserve in such
amount as the Administrative Agent may determine in its Permitted Discretion which reflects
amounts secured by any Liens, choate or inchoate, which rank or are capable of ranking in priority to
the Administrative Agent’s and/or the Japanese Secured Parties’ Liens and/or for amounts which may
represent costs relating to the enforcement of the Administrative Agent’s or the Japanese Secured
Parties’ Liens.

       “Japanese Secured Parties” means “Secured Parties” as such term is defined in each of the
Japanese Security Documents.

         “Japanese Security Documents” means each (a) movable assets security agreement (with
respect to Equipment and Inventory), (b) account receivables security agreement, (c) trademark
security agreement, (d) bank account pledge agreement, (e) insurance claims pledge agreement, and
(f) each other security agreement or other instrument or document executed and delivered by any
Japanese Loan Party to an Agent and/or each of the Japanese Secured Parties pursuant to this
Agreement or any other Loan Document granting a Lien on assets of any Japanese Loan Party for the
benefit of the Japanese Secured Parties, as security for the Foreign Liabilities.

       “Japanese Subsidiary” means any Subsidiary that is organized under the laws of Japan.

        “Joinder Agreement” means an agreement, in the form attached hereto as Exhibit F-1
(Joinder Agreement – Domestic Loan Parties), Exhibit F-2 (Joinder Agreement – Foreign Loan Parties),
or such other form as is reasonably satisfactory to the Agents, pursuant to which, among other
things, a Person becomes a party to, and bound by the terms of, this Agreement and/or the other
Loan Documents in the same capacity and to the same extent as either a Borrower or a Guarantor, as
applicable.




       3
         To be inserted on the Effective Date by the Administrative Agent, reflecting the amount
of Japanese Liabilities owing to Bank of America and outstanding on the Petition Date.



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         “Loan Documents” means this Agreement, each Note, each Issuer Document, the Fee Letter,
all Borrowing Base Certificates, the Security Documents, each Facility Guaranty, the Reaffirmation
Agreement, any agreement creating or perfecting rights in Cash Collateral pursuant to the provisions
of Section 2.17, and any other instrument or agreement now or hereafter executed and delivered by
any Loan Party in connection herewith.

       “Loan Parties” means, collectively, the Domestic Loan Parties and the Foreign Loan Parties.
“Loan Party” means any one of such Persons.

       “London Banking Day” means any day on which dealings in Dollar deposits are conducted by
and between banks in the London Eurodollar Interbank Market.

       “Mandatory Cost” means, with respect to any period, the percentage rate per annum
determined in accordance with Schedule 1.03.

       “Master Agreement” has the meaning set forth in the definition of “Swap Contract.”

        “Material Adverse Effect” means (a) a material adverse change in, or a material adverse
effect upon, the operations, business, properties, liabilities (actual or contingent) or financial
condition of the Parent and its Subsidiaries taken as a whole; (b) a material impairment of the ability
of any Loan Party to perform its obligations under any Loan Document to which it is a party; or (c) a
material impairment of the rights and remedies of any Agent or the Lenders under the Loan
Documents or a material adverse effect upon the legality, validity, binding effect or enforceability
against any Loan Party of the Loan Documents to which it is a party. In determining whether any
individual event would result in a Material Adverse Effect for the purposes of determining
compliance with any representation, warranty, covenant or event of default under this Agreement,
notwithstanding that such event in and of itself does not have such effect, a Material Adverse Effect
shall be deemed to have occurred if the cumulative effect of such event and all other then existing
events subject to such representation, warranty, covenant or event of default would result in a a
Material Adverse Effect. Notwithstanding anything herein to the contrary, the act of filing the Cases
shall not in itself constitute Material Adverse Effect.

        “Material Contract” means, with respect to any Person, each contract to which such Person is
a party, the breach or termination of which would (or would be reasonably likely to) result in a
Material Adverse Effect.

        “Material Indebtedness” means Indebtedness (other than the Obligations) of the Loan Parties
in an aggregate principal amount exceeding $10,000,000 (including, for purposes of calculating such
amount, undrawn committed or available amounts and amounts owing to all creditors under any
combined or syndicated credit arrangement). Without limitation of the foregoing, the Indebtedness
under the DIP Term Loan Agreement, the Boardriders Notes and any credit facility in favor of any
European Subsidiary in an aggregate principal amount exceeding $10,000,000 (if any Loan Party is an
obligor thereunder, whether as a guarantor or otherwise) shall be deemed Material Indebtedness.
For purposes of determining the amount of Material Indebtedness at any time, the amount of the
obligations in respect of any Swap Contract at such time shall be calculated at the Swap Termination
Value thereof.



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        “Maturity Date” means [____________].4February 8, 2016.

        “Maximum Rate” has the meaning provided in Section 10.09.

         “Minimum Collateral Amount” means, at any time, (i) with respect to Cash Collateral
consisting of cash or deposit account balances provided to reduce or eliminate Fronting Exposure
during the existence of a Defaulting Lender, an amount equal to 103% of the Fronting Exposure of
the L/C Issuer with respect to Letters of Credit issued and outstanding at such time, (ii) with respect
to Cash Collateral consisting of cash or deposit account balances provided in accordance with the
provisions of Section 2.17(a)(i), (a)(ii) or (a)(iii), an amount equal to 103% of the Outstanding Amount
of all L/C Obligations, and (iii) otherwise, an amount determined by the Administrative Agent and the
L/C Issuer in their sole discretion.

        “MLPFS” means Merrill Lynch, Pierce, Fenner & Smith Incorporated and its successors.

        “Moody’s” means Moody’s Investors Service, Inc. and any successor thereto.

        “Multiemployer Plan” means any employee benefit plan of the type described in
Section 4001(a)(3) of ERISA, to which a Loan Party or any ERISA Affiliate makes or is obligated to
make contributions, or during the preceding five plan years, has made or been obligated to make
contributions.

        “Multiple Employer Plan” means a Plan which has two or more contributing sponsors
(including a Loan Party or any ERISA Affiliate) at least two of whom are not under common control,
as such a plan is described in Section 4064 of ERISA.

        “Non-Consenting Lender” has the meaning provided therefor in Section 10.01.

        “Non-Defaulting Lender” means, at any time, each Lender that is not a Defaulting Lender at
such time.

        “Non-Qualifying Japanese Lender” means a Japanese Lender other than:

               (a)       a Japanese Lender that exists, is created or organized under the Laws of
        Japan and is either lending from an office in Japan or a branch office outside of Japan;

                (b)      a Japanese Lender that is not created or organized under the Laws of Japan
        but is acting through a branch or other permanent establishment located in Japan and holds
        a valid Certificate of Exemption for Withholding Tax for Foreign Corporations issued by the
        relevant Tax authorities in Japan; and

               (c)    a Japanese Lender which is treated as an eligible resident of a jurisdiction
        having entered into a double taxation treaty with Japan which double taxation treaty is in




        4
            150 days after the Petition Date

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constitutive documents with respect to any non-U.S. jurisdiction); (c) with respect to any partnership,
joint venture, trust or other form of business entity, the partnership, joint venture or other applicable
agreement of formation or organization and any agreement, instrument, filing or notice with respect
thereto filed in connection with its formation or organization with the applicable Governmental
Authority in the jurisdiction of its formation or organization and, if applicable, any certificate or
articles of formation or organization of such entity, (d) with respect to any unlimited liability
company, the memorandum of association and articles of association (or equivalent or comparable
constitutive documents with respect to any non-U.S. jurisdiction); and (e) in each case, all
shareholder or other equity holder agreements, voting trusts and similar arrangements to which such
Person is a party or which is applicable to its Equity Interests.

        “Organized Crime Group Member Etc.” has the meaning specified in Section 5.26.

        “Other Australian Liabilities” means any obligation on account of: (a) any Cash Management
Services furnished to any of the Australian Loan Parties or any of their Australian Subsidiaries and/or
(b) any transaction which arises out of any Bank Product entered into with any Australian Loan Party
or any of its Australian Subsidiaries.

        “Other Canadian Liabilities” means any obligation on account of: (a) any Cash Management
Services furnished to any of the Canadian Loan Parties or any of their Canadian Subsidiaries and/or
(b) any transaction which arises out of any Bank Product entered into with any Canadian Loan Party
or any of its Canadian Subsidiaries.

        “Other Connection Taxes” means, with respect to any Recipient, Taxes imposed solely as a
result of a present or former connection between such Recipient and the jurisdiction imposing such
Tax (other than connections arising from such Recipient having executed, delivered, become a party
to, performed its obligations under, received payments under, received or perfected a security
interest under, engaged in any other transaction pursuant to, ooror enforced any Loan Document, or
sold or assigned an interest in any Loan or Loan Document).

        “Other Domestic Liabilities” means any obligation on account of: (a) any Cash Management
Services furnished to any of the Domestic Loan Parties or any of their Domestic Subsidiaries and/or
(b) any transaction which arises out of any Bank Product entered into with any Domestic Loan Party
or any of its Domestic Subsidiaries.

        “Other Japanese Liabilities” means any obligation on account of: (a) any Cash Management
Services furnished to any of the Japanese Loan Parties or any of their Japanese Subsidiaries and/or
(b) any transaction which arises out of any Bank Product entered into with any Japanese Loan Party
or any of its Japanese Subsidiaries.

          “Other Liabilities” means, collectively, all Other Canadian Liabilities, all Other Domestic
Liabilities, all Other Australian Liabilities and all Other Japanese Liabilities.

        “Other Taxes” means all present or future stamp, court or documentary, intangible, recording,
filing or similar Taxes that arise from any payment made under, from the execution, delivery,
performance, enforcement or registration of, from the receipt or perfection of a security interest
under, or otherwise with respect to, any Loan Document, except any such Taxes that are Other


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Connection Taxes imposed with respect to an assignment (other than an assignment made pursuant
to Section 3.06) or with respect to a participation.

          “Outstanding Amount” means (i) with respect to Committed Loans on any date, the Dollar
Equivalent amount of the aggregate outstanding principal amount thereof after giving effect to any
borrowings and prepayments or repayments of such Committed Loans occurring on such date; and
(ii) with respect to any L/C Obligations on any date, the Dollar Equivalent amount of the aggregate
outstanding amount of such L/C Obligations on such date after giving effect to any L/C Credit
Extension occurring on such date and any other changes in the aggregate amount of the L/C
Obligations as of such date, including as a result of any reimbursements by any Borrower of
Unreimbursed Amounts, or the refinancing of such unreimbursed amounts as Committed Borrowings.

       “Overadvance” means a Canadian Overadvance, a Domestic Overadvance, an Australian
Overadvance or a Japanese Overadvance.

        “Overnight Rate” means, for any day, (a) with respect to any amount denominated in Dollars,
the greater of (i) the Federal Funds Rate and (ii) an overnight rate determined by the Administrative
Agent or the L/C Issuer in accordance with banking industry rules on interbank compensation, (b)
with respect to any amount denominated in Canadian Dollars, the Bank of Canada Overnight Rate,
and (c) with respect to any amount denominated in any other Alternative Currency, the rate of
interest per annum at which overnight deposits in the applicable Alternative Currency, in an amount
approximately equal to the amount with respect to which such rate is being determined, would be
offered for such day by a branch or Affiliate of Bank of America in the applicable offshore interbank
market for such currency to major banks in such interbank market.

          “Parent” has the meaning specified in the introductory paragraph hereto.

          “Participant” has the meaning specified in Section 10.06(e)(i).

        “Participating Member State” means any member state of the European Union that has the
Euro as its lawful currency in accordance with legislation of the European Union relating to Economic
and Monetary Union.

          “Patriot Act” means USA Patriot Act (Title III of Pub. L. 107-56 (signed into law October 26,
2001)).

        “Payment in Full” means (a) the payment in full in cash of all Obligations (or with respect to
the Foreign Borrowers, all Foreign Liabilities), including, without limitation, with respect to amounts
available to be drawn under outstanding Letters of Credit, the cancellation of such Letters of Credit
or the delivery or provision of money or backstop irrevocable letters of credit, in form, on terms, and
issued by a financial institution reasonably acceptable to the Administrative Agent, in respect thereof
in an amount equal to 103% of the L/C Obligations, and (b) the termination of all obligations of the
L/C Issuer to issue Letters of Credit and the termination of all Commitments hereunder. The term
“Paid in Full” shall have a correlative meaning.

          “PBGC” means the Pension Benefit Guaranty Corporation.



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provided, however, that the first such Variance with respect to clauses (i) and (ii) will be tested after
the end of the third (3rd) full calendar week after the Petition Date.

        “Permitted Overadvance” means either a Permitted Domestic Overadvance or a Permitted
Foreign Overadvance.

        “Person” means any natural person, corporation, limited liability company, trust, joint
venture, association, company, partnership, limited partnership, Governmental Authority or other
entity.

        “Petition Date” has the meaning set forth in the recitals hereto.

         “Plan” means (a) in respect of the Domestic Loan Parties, any employee benefit plan within
the meaning of Section 3(3) of ERISA (including a Pension Plan), maintained for employees of a
Borrower or, with respect to any such plan that is subject to Section 412 of the Code or Title IV of
ERISA, any ERISA Affiliate or any such Plan to which a Borrower or, with respect to any such plan that
is subject to Section 412 of the Code or Title IV of ERISA, or any ERISA Affiliate is required to
contribute on behalf of any of its employees, or (b) in respect of the Canadian Loan Parties, any
Canadian Pension Plan or other pension benefit or retirement savings plan maintained by any of the
Canadian Loan Parties for its employees or its former employees to which any of the Canadian Loan
Parties contributes or are required to contribute with respect to which any of the Canadian Loan
Parties have incurred or may incur liability, including contingent liability.

       “Plan of Reorganization” means a plan filed in the Cases pursuant to Chapter 11 of the
Bankruptcy Code.

       “Plan Sponsor Agreement” means that certain plan sponsor agreement among Borrower, the
other Debtors and Big Wave or one or more of its affiliates dated as of [______]September 8, 2015.

        “Platform” has the meaning specified in Section 6.02.

      “Pledge Agreement” means the Pledge Agreement dated as of the Effective Date among the
Domestic Loan Parties party thereto and the Administrative Agent.

         “PPSA” means the Personal Property Security Act (Ontario) (or any successor statute) or
similar legislation of any other Canadian jurisdiction, including, without limitation, the Civil Code of
Quebec, the laws of which are required by such legislation to be applied in connection with the issue,
perfection, enforcement, opposability, validity or effect of security interests or other applicable Liens.

        “Post-Carve Out Trigger Notice Cap” means $1,000,000.

          “Prepetition Parties” means, collectively, the Existing ABL Agent, the Existing ABL Lenders,
the Existing Senior Secured Note Collateral Agent, and the Existing Senior Secured Noteholders.

         “Prime Rate” means, for any day, a fluctuating rate per annum equal to the highest of (a) the
rate of interest in effect for such day as publicly announced from time to time by Bank of America as
its “prime rate”, (b) the Federal Funds Rate for such day plus one-half of one percent (0.50%) or (c)
the Adjusted LIBO Rate for a one month interest period as determined on such day plus one percent
(1.00%). The “prime rate” is a rate set by Bank of America based upon various factors including Bank
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of America’s costs and desired return, general economic conditions and other factors, and is used as
a reference point for pricing some loans, which may be priced at, above, or below such announced
rate. Any change in such rate announced by Bank of America shall take effect at the opening of
business on the day specified in the public announcement of such change.

        “Prime Rate Loan” means a Canadian Prime Rate Loan, a Canadian Base Rate Loan, a
Domestic Prime Rate Loan, a Japanese Base Rate Loan or an Australian Base Rate Loan, as the
context may require.

       “Primed Liens” has the meaning set forth in the recitals hereto.

        “Priority Permitted Encumbrances” means, (x) subject to the Intercreditor Agreement, with
respect to the DIP ABL Priority Collateral, the DIP ABL Lien of the DIP ABL Agent securing the DIP ABL
Claims, (y) the Lien of the Existing ABL Agent on the Existing ABL Credit Agreement Collateral
Account, and (z) any other valid, perfected, and non-avoidable Permitted Encumbrance in existence
on the Petition Date (other than any Existing Senior Secured Note Liens and, except as set forth
above, the Existing ABL Liens).

       “Public Lender” has the meaning specified in Section 6.02.

       “Qualified ECP Guarantor” means, at any time, each Loan Party with total assets exceeding
$10,000,000 or that qualifies at such time as an “eligible contract participant” under the Commodity
Exchange Act and can cause another Person to qualify as an “eligible contract participant” at such
time under Section 1a(18)(A)(v)(II) of the Commodity Exchange Act.

       “Qualifying Australian Treaty Party” means an Australian Credit Party which:

               (a)     is treated as a resident of aan Australian Treaty State for the purposes of the
       relevant Australian Double Tax Treaty;

             (b)     does not perform its role as an Australian Credit Party at or through a
       permanent establishment in Australia; and

               (c)    fulfills any other conditions which must be fulfilled under the relevant
       Australian Double Tax Treaty by residents of the Australian Treaty State for such residents to
       obtain a full exemption from taxation imposed in Australia in respect of the relevant
       payment.

        “Reaffirmation Agreement” means that certain Joinder, Confirmation, Ratification and
Amendment of Ancillary Loan Documents among each of the Loan Parties and the Administrative
Agent dated as of the date hereof, reaffirming each of the Security Documents, the Facility
Guaranties (as defined in the Existing ABL Credit Agreement), the Credit Card Notifications (as
defined in the Existing ABL Credit Agreement), the Blocked Account Agreements (as defined in the
Existing ABL Credit Agreement), the Lessor Notifications (as defined in the Existing ABL Credit
Agreement), and the other Loan Documents (as defined in the Existing ABL Credit Agreement)
referred to therein.



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        “Real Estate” means all land, together with the buildings, structures, parking areas, and other
improvements thereon, now or hereafter owned or leased by any Loan Party or any Subsidiary,
including all easements, rights-of-way, and similar rights relating thereto.

       “Receivables Advance Rate” means (a) with respect to the Domestic Borrowers, seventy
percent (70%), and (b) with respect to the Foreign Borrowers, eighty-five percent (85%).

        “Receivables Reserves” means, without duplication of any other Reserves or items that are
otherwise addressed or excluded through eligibility criteria, such Reserves as may be established
from time to time by any Agent in its Permitted Discretion with respect to the determination of the
collectability in the ordinary course of Eligible Trade Receivables. Upon the determination by any
Agent in its Permitted Discretion that a Receivables Reserve should be established or modified, such
Agent shall notify the Administrative Agent in writing and the Administrative Agent shall thereupon
establish or modify such Receivables Reserve, in all cases subject to the provisions of Section 2.01(e)
and Section 9.19.

      “Recipient” means any Agent, any Lender, the L/C Issuer or any other recipient of any
payment to be made by or on account of any obligation of any Loan Party hereunder.

       “Register” has the meaning specified in Section 10.06(d).

        “Registered Public Accounting Firm” has the meaning specified by the Securities Laws and
shall be independent of the Parent and its Subsidiaries as prescribed by the Securities Laws.

         “Related Parties” means, with respect to any Person, such Person’s Affiliates and the
partners, directors, officers, employees, agents and advisors of such Person and of such Person’s
Affiliates.

        “Reportable Event” means any of the events set forth in Section 4043(c) of ERISA, other than
events for which the 30 day notice period has been waived.

       “Reported Fee Accruals” shall mean accrued and unpaid fees, disbursements, costs, and
expenses incurred by any professionals or professional firms retained by the Domestic Borrowers or
the Committee through and including the date of delivery by the Administrative Agent (or the
Required Lenders, where applicable) or the DIP Term Agent of a Carve Out Trigger Notice, which
amounts shall be reported in arrears by the Domestic Borrowers to the Administrative Agent on a
monthlyweekly basis, less any amounts actually paid on account thereof.”

       “Reports” has the meaning provided in Section 9.13(b).

        “Request for Credit Extension” means (a) with respect to a Committed Borrowing, conversion
or continuation of Committed Loans, a Committed Loan Notice and (b) with respect to an L/C Credit
Extension, a Letter of Credit Application.

         “Required Lenders” means, as of any date of determination, at least two Lenders (excluding
Affiliates) holding more than fifty percent (50%) of the Aggregate Total Commitments or, if the
Commitment of each Lender to make Loans and the obligation of the L/C Issuer to make L/C Credit
Extensions have been terminated pursuant to Section 8.02, at least two Lenders (excluding Affiliates)

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Issuer, as the case may be, to be customary in the place of disbursement or payment for the
settlement of international banking transactions in the relevant Alternative Currency.

        “Sarbanes-Oxley” means the Sarbanes-Oxley Act of 2002, as amended and in effect from time
to time.

       “SEC” means the Securities and Exchange Commission, or any Governmental Authority
succeeding to any of its principal functions.

         “Securities Laws” means, collectively, the Securities Act of 1933, the Securities Exchange Act
of 1934, Sarbanes-Oxley, and the applicable accounting and auditing principles, rules, standards and
practices promulgated, approved or incorporated by the SEC or the PCAOB; and all applicable
securities laws in each province and territory of Canada and the respective regulations, rules
regulations, blanket orders and blanket rulings under such laws together with applicable published
policy statements and notices of the securities regulator of each such province and territory.

       “Security Agreement” means the Security Agreement dated as of the Effective Date among
the Domestic Loan Parties and the Administrative Agent.

         “Security Documents” means the Security Agreement, the Canadian Security Documents, the
Australian Security Documents, the Japanese Security Documents, the Pledge Agreement, the
Intellectual Property Security Agreement, the Blocked Account Agreements, the Credit Card
Notifications, the IP Rights Agreement, the Novation Deed, and each other security agreement or
other instrument or document executed and delivered by or on behalf of any Loan Party to the
applicable Agent pursuant to this Agreement or any other Loan Document granting a Lien to secure
any of the Obligations or the Foreign Liabilities, as applicable, as each has been ratified and
confirmed pursuant to the ConfirmationReaffirmation Agreement.

        “Settlement Date” has the meaning provided in Section 2.14(a).

        “Shareholders’ Equity” means, as of any date of determination, consolidated shareholders’
equity of the Parent and its Subsidiaries or the Parent and its Americas/Foreign Subsidiaries, as
applicable, as of that date determined in accordance with GAAP.

        “Shrink” means Inventory of the Borrowing Base Parties which has been lost, misplaced,
stolen, or is otherwise unaccounted for.

        “Special Notice Currency” means at any time an Alternative Currency, other than the
currency of a country that is a member of the Organization for Economic Cooperation and
Development at such time located in North America or Europe.

       “Specified Loan Party” means any Loan Party that is not then an “eligible contract participant”
under the Commodity Exchange Act (determined prior to giving effect to Section 10.31).

       “Sponsored Plan” means a plan of reorganization supported by Big Wave.

        “Spot Rate” means the exchange rate, as determined by the Administrative Agent, that is
applicable to conversion of one currency into another currency, which is (a) the exchange rate
reported by Bloomberg (or other commercially available source designated by the Administrative
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         1.11    Québec Matters. For purposes of any assets, liabilities or entities located in the
Province of Québec and for all other purposes pursuant to which the interpretation or construction of
this Agreement may be subject to the laws of the Province of Québec or a court or tribunal
exercising jurisdiction in the Province of Québec, (a) “personal property” shall include “movable
property”, (b) “real property” or “real estate” shall include “immovable property”, (c) “tangible
property” shall include “corporeal property”, (d) “intangible property” shall include “incorporeal
property”, (e) “security interest”, “mortgage” and “security” shall include a “hypothec”, “right of
retention”, “prior claim” and a resolutory clause, (f) all references to filing, perfection, priority,
remedies, registering or recording under the UCC or a PPSA shall include publication under the Civil
Code of Québec, (g) all references to “perfection” of or “perfected” security or security interest shall
include a reference to an “opposable” or “set up” hypothec, security or security interest as against
third parties, (h) any “right of offset”, "right of setoff" or similar expression shall include a “right of
compensation”, (i) “goods” shall include “corporeal movable property” other than chattel paper,
documents of title, instruments, money and securities, (j) an “agent” shall include a “mandatary”,
(k) “construction security” shall include “legal hypothecs”, (l) “joint and several” shall include
“solidary”, (m) “gross negligence or willful misconduct” shall be deemed to be “intentional or gross
fault”, (n) “beneficial ownership” shall include “ownership on behalf of another as mandatary”;
(o) “easement” shall include “servitude”, (p) “priority” shall include “prior claim”, (q) “survey” shall
include “certificate of location and plan”, (r) “state” shall include “province”, (s) “fee simple title”
shall include “absolute ownership”, and (t) “accounts” shall include “claims”.

                                        ARTICLE II
                            THE COMMITMENTS AND CREDIT EXTENSIONS

        2.01     Committed Loans; Reserves.

                 (a)    (a)     Subject to the terms and conditions set forth herein, the outstanding
loans to Domestic Borrowers funded under the Existing ABL Credit Agreement by each Domestic
Lender isare hereby continued, amended and restated as a Committed Domestic Loan under this
Agreement. Subject to the terms and conditions set forth herein, each Domestic Lender severally
agrees to make Committed Domestic Loans to the Domestic Borrowers from time to time, on any
Business Day during the Availability Period, in an aggregate principal amount not to exceed at any
time outstanding the lesser of (x) the amount of the Domestic Commitment of such Domestic Lender,
or (y) the Applicable Percentage of the Domestic Borrowing Base for such Domestic Lender; subject in
each case to the following limitations:

                      (i)     after giving effect to any Committed Domestic Borrowing, the Total
        Domestic Outstandings shall not exceed the Domestic Loan Cap,

                      (ii)     after giving effect to any Committed Domestic Borrowing, the
        aggregate Outstanding Amount of the Committed Domestic Loans of any Domestic Lender,
        plus (without duplication) the Applicable Percentage of the Outstanding Amount of all
        Domestic L/C Obligations for such Domestic Lender shall not exceed the Domestic
        Commitment of such Domestic Lender, and

                      (iii)   the Outstanding Amount of all Domestic L/C Obligations shall not at
        any time exceed the Domestic Letter of Credit Sublimit.

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Within the limits of the Domestic Commitment for each Domestic Lender, and subject to the other
terms and conditions hereof, the Domestic Borrowers may borrow under this Section 2.01, prepay
under Section 2.05, and reborrow under this Section 2.01. Committed Domestic Loans may be
Domestic Prime Rate Loans or LIBO Rate Loans, as further provided herein.

               (b)     Subject to the terms and conditions set forth herein, the outstanding loans to
the Foreign Borrowers funded under the Existing ABL Credit Agreement immediately prior to the
effectiveness hereof by each Foreign Lender isare hereby continued, amended and restated as a
Committed Foreign Loan under this Agreement. Subject to the terms and conditions set forth herein,
each Foreign Lender severally agrees to make a single Committed Foreign Loan to the applicable
Foreign Borrower (other than the Japanese Borrower) on the Effective Date, in an aggregate principal
amount not to exceed at any time outstanding the lesser of (x) the amount of the applicable Foreign
Commitment of such Foreign Lender to such Foreign Borrower or (y) the Applicable Percentage of
the applicable Borrowing Base for such Foreign Borrower; subject in each case to the following
limitations:

                      (i)     after giving effect to any Committed Foreign Borrowing, the Total
       Outstandings for any Foreign Borrower shall not exceed such Foreign Borrower’s Foreign Loan
       Cap, and

                       (ii)   with respect to each Foreign Borrower, after giving effect to any
       Committed Foreign Borrowing made to such Foreign Borrower, the aggregate Outstanding
       Amount of the Committed Foreign Loans of any Foreign Lender to such Foreign Borrower,
       plus (without duplication) such Foreign Lender’s Applicable Percentage of the Outstanding
       Amount of all Australian L/C Obligations for such Foreign Borrower, shall not exceed the
       applicable Foreign Commitment of such Foreign Lender,

After the making of the Committed Foreign Loans on the Effective Date, the Foreign Commitments
shall be automatically terminated.

               (c)     [Reserved].

                 (d)    The Inventory Reserves and Availability Reserves as of the Effective Date are
set forth in the Borrowing Base Certificates delivered to the Administrative Agent pursuant to Section
4.01(c).

                    (e)     Any Agent shall have the right, at any time and from time to time after the
Effective Date, in its Permitted Discretion to establish new, or modify or eliminate any existing
Reserves without prior notice to any Loan Party. Availability Reserves will not be established or
changed except upon one (1) Business Days’Day’s prior notice to the applicable Borrower (during
which period the Agents shall be available to discuss any proposed Availability Reserve with the
Borrowers and the Borrowers may take such action as may be required so that the event, condition
or matter that is the basis for the Availability Reserve no longer exists); provided that no such prior
notice shall be required (i) after the occurrence and during the continuance of an Event of Default or
if an Event of Default would arise from the establishment or change of such Availability Reserve, (ii)
for changes to any Availability Reserves resulting solely by virtue of mathematical calculations of the
amount of the Availability Reserve in accordance with the methodology of calculation previously
utilized, (iii) for the establishment of any Reserves in an amount equal to the unpaid balance relating
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to any Liens permitted under clauses (y) and (z) of the definition of Permitted Encumbrances, or (iv)
if a Material Adverse Effect is reasonably likely to arise by any delay in implementing such
Availability Reserve.

        2.02     Committed Borrowings, Conversions and Continuations of Committed Loans.

                (a)      Committed Domestic Loans shall be made in Dollars and shall be either
Domestic Prime Rate Loans or LIBO Rate Loans, as the Lead Borrower or the Parent, on behalf of the
Domestic Borrowers, may request subject to and in accordance with this Section 2.02. Committed
Canadian Loans shall be made in Dollars or Canadian Dollars and shall be either Canadian Prime Rate
Loans, Canadian Base Rate Loans, LIBO Rate Loans (if in Dollars only and not in an Alternative
Currency) or Canadian BA Rate Loans, as the Canadian Borrower or the Parent, on behalf of the
Canadian Borrower, may request subject to and in accordance with this Section 2.02. Committed
Australian Loans shall be made in Dollars or Australian Dollars and shall be either Australian Base
Rate Loans, LIBO Rate Loans (if in Dollars) or BBR Rate Loans, as the Australian Borrower or the
Parent, on behalf of the Australian Borrower, may request subject to and in accordance with this
Section 2.02. Committed Japanese Loans shall be made in Yen and shall be either Japanese Base
Rate Loans or TIBOR Rate Loans, as the Japanese Borrower or the Parent, on behalf of the Japanese
Borrower, may request subject to and in accordance with this Section 2.02. Subject to the other
provisions of this Section 2.02, Committed Borrowings of more than one Type may be incurred at the
same time.

                (b)     Each Committed Borrowing, each conversion of a Committed Loan from one
Type to the other, and each continuation of LIBO Rate Loans, BBR Rate Loans, TIBOR Rate Loans and
Canadian BA Rate Loans shall be made upon the irrevocable notice of the applicable Borrower or the
Parent on behalf of the applicable Borrower to the Administrative Agent which may be given by
electronic transmission. Each such notice must be received by the Administrative Agent not later
than 11:00 a.m. (i) three Business Days prior to the requested date of any Committed Borrowing of,
conversion to or continuation of LIBO Rate Loans, BBR Rate Loans, TIBOR Rate Loans, or Canadian BA
Rate Loans or of any conversion of LIBO Rate Loans, BBR Rate Loans, TIBOR Rate Loans, or Canadian
BA Rate Loans to Prime Rate Loans, (ii) four Business Days (or, without duplication of the time
periods set forth in Section 1.09(b), five Business Days in the case of a Special Notice Currency) prior
to the requested date of any Borrowing or continuation of LIBO Rate Loans, BBR Rate Loans, or TIBOR
Rate Loans denominated in Alternative Currencies, and (iii) one Business Day prior to the requested
date of any Committed Borrowing of any Prime Rate Loans. Each electronic notice by the Parent or
the applicable Borrower pursuant to this Section 2.02(b) must be confirmed promptly by delivery to
the Administrative Agent of a written Committed Loan Notice, appropriately completed and signed by
a Responsible Officer of the Parent or the applicable Borrower (and, with respect to the Japanese
Borrower, a written Committed Loan Notice may be delivered to the Administrative Agent via
facsimile). Each Committed Borrowing of, conversion to or continuation of LIBO Rate Loans, BBR
Rate Loans or TIBOR Rate Loans shall be in a principal amount of $1,000,000 or a whole multiple of
$1,000,000 in excess thereof. Each Committed Borrowing of, conversion to or continuation of
Canadian BA Rate Loans shall be in a principal amount of CD$500,000 or a whole multiple of
CD$100,000 in excess thereof. Except as provided in SectionsSection 2.03(c) and 2.04(c), each
Committed Borrowing of or conversion to Prime Rate Loans shall be in a principal amount of
$500,000 or a whole multiple of $100,000 in excess thereof. Each Committed Loan Notice (whether
electronic or written) shall specify (i) whether the request is for a Committed Borrowing, a

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       2.04     [Reserved].

       2.05     Prepayments.

                (a)      Each Borrower may, upon irrevocable notice to the Administrative Agent, at
any time or from time to time voluntarily prepay Committed Loans in whole or in part without
premium or penalty; provided that (i) such notice must be received by the Administrative Agent not
later than 11:00 a.m. (A) three Business Days prior to any date of prepayment of LIBO Rate Loans,
BBR Rate Loans, TIBOR Rate Loans or Canadian BA Rate Loans denominated in Dollars, (B) four
Business Days (or five, in the case of prepayment of Loans denominated in Special Notice Currencies)
prior to any date of prepayment of LIBO Rate Loans denominated in Alternative Currencies, and (C)
on the date of prepayment of Prime Rate Loans; (ii) any voluntary prepayment of LIBO Rate Loans
denominated in Dollars shall be in a principal amount of $1,000,000 or a whole multiple of
$1,000,000 in excess thereof; and (iii) any voluntary prepayment of BBR Rate Loans, TIBOR Rate Loans
or Canadian BA Rate Loans shall be in a principal amount of $500,000 (or the Alternative Currency
Equivalent thereof) or a whole multiple of $100,000 (or the Applicable Currency Equivalent thereof)
in excess thereof; and (iv) any voluntary prepayment of Prime Rate Loans shall be in a principal
amount of $500,000 (or the Applicable Currency Equivalent thereof) or a whole multiple of $100,000
(or the Applicable Currency Equivalent thereof) in excess thereof or, in each case, if less, the entire
principal amount thereof then outstanding. Each such notice shall specify the date and amount of
such prepayment and the Type(s) of Loans to be prepaid and, if LIBO Rate Loans, BBR Rate Loans,
TIBOR Rate Loans or Canadian BA Rate Loans, the Interest Period(s) of such Loans. The
Administrative Agent will promptly notify each applicable Lender of its receipt of each such notice,
and of the amount of such Lender’s Applicable Percentage of such prepayment. If such notice is
given by a Borrower, the applicable Borrowers shall make such prepayment and the payment amount
specified in such notice shall be due and payable on the date specified therein. Any prepayment of a
LIBO Rate Loan, a BBR Rate Loan, a TIBOR Rate Loan or a Canadian BA Rate Loan shall be
accompanied by all accrued interest on the amount prepaid, together with any additional amounts
required pursuant to Section 3.05. Subject to Section 2.18, each such prepayment shall be applied to
the Committed Loans of the Lenders in accordance with their respective Applicable Percentages.

                (b)    [Reserved].

               (c)     If for any reason the Total Domestic Outstandings at any time exceed the
Domestic Loan Cap as then in effect, the Domestic Borrowers shall immediately prepay Committed
Domestic Loans and Domestic L/C Borrowings and/or Cash Collateralize the Domestic L/C Obligations
(other than Domestic L/C Borrowings) and/or (subject tto the DIP Intercreditor Agreement) prepay
Foreign Loans or Cash Collateralize Australian L/C Obligations, in an aggregate amount equal to such
excess; provided, however, that the Domestic Borrowers shall not be required to Cash Collateralize
the Domestic L/C Obligations pursuant to this Section 2.05(c) unless after the prepayment in full of
the Domestic Loans the Total Domestic Outstandings exceed the lesser of the Aggregate Domestic
Commitments or the Domestic Borrowing Base, each as then in effect. The Administrative Agent
may, at any time and from time to time after the initial deposit of such Cash Collateral, request that
additional Cash Collateral be provided in order to protect against the results of exchange rate
fluctuations.

              (d)    If for any reason the Total Canadian Outstandings at any time exceed the
Canadian Loan Cap as then in effect, the Canadian Borrower shall immediately prepay Committed
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                (g)    Notwithstanding anything to the contrary contained herein, any notice of
prepayment, reduction or termination, as the case may be, delivered by the Lead Borrower may state
that such notice is conditioned upon the effectiveness of other credit facilities or the receipt of the
proceeds from the issuance of other Indebtedness or the occurrence of some other event or
condition, in which case such notice may be revoked by the Lead Borrower (by notice to the
Administrative Agent on or prior to the specified effective date) if such condition is not satisfied.

        2.07     Repayment of Loans.

       Each Borrower shall repay to the Administrative Agent, for the account of the applicable
Lenders, on the Termination Date the aggregate principal amount of Committed Loans made to such
Borrower and outstanding on such date.

        2.08     Interest.

                (a)     Subject to the provisions of Section 2.08(b) below, (i) each LIBO Rate Loan
shall bear interest on the outstanding principal amount thereof for each Interest Period at a rate per
annum equal to the Adjusted LIBO Rate for such Interest Period plus the Applicable Margin plus (in
the case of a LIBO Rate Loan of any Lender which is lent from a Lending Office in the United
Kingdom or a Participating Member State) the Mandatory Cost; (ii) each Canadian BA Rate Loan shall
bear interest on the outstanding principal amount thereof for each Interest Period at a rate per
annum equal to the Canadian BA Rate for such Interest Period plus the Applicable Margin; (iii) each
BBR Rate Loan shall bear interest on the outstanding principal amount thereof for each Interest
Period at a rate per annum equal to the Australian Bank Bill Rate for such Interest Period plus the
Applicable Margin; (iv) each TIBOR Rate Loan shall bear interest on the outstanding principal amount
thereof for each Interest Period at a rate per annum equal to the TIBOR Rate for such Interest Period
plus the Applicable Margin; (v) each Domestic Prime Rate Loan shall bear interest on the outstanding
principal amount thereof from the applicable borrowing date at a rate per annum equal to the Prime
Rate plus the Applicable Margin; (vi) each Canadian Prime Rate Loan and Canadian Base Rate Loan
shall bear interest on the outstanding principal amount thereof from the applicable borrowing date
at a rate per annum equal to the Canadian Prime Rate, or Canadian Base Rate, as applicable, plus the
Applicable Margin; (vii) each Australian Base Rate Loan shall bear interest on the outstanding
principal amount thereof from the applicable borrowing date at a rate per annum equal to the
Australian Base Rate plus the Applicable Margin; and (viii) each Japanese Base Rate Loan shall bear
interest on the outstanding principal amount thereof from the applicable borrowing date at a rate
per annum equal to the Japanese Base Rate plus the Applicable Margin.

                (b)     (i)     If any amount payable under any Loan Document is not paid when
due (after giving effect to any applicable grace periods), whether at stated maturity, by acceleration
or otherwise, such amount shall thereafter bear interest at a fluctuating interest rate per annum at
all times equal to the Default Rate to the fullest extent permitted by applicable Laws.

                         (ii)    If any Event of Default exists, then the Administrative Agent, upon the
request of the Required Lenders shall, notify the Lead Borrower that all outstanding Obligations
under the Loan Documents shall thereafter bear interest at a fluctuating interest rate per annum at
all times equal to the Default Rate and thereafter such Loans and L/C Obligations shall bear interest
at the Default Rate to the fullest extent permitted by applicable Laws for so long as such Event of
Default is continuing; ; provided that the Default Rate shall automatically apply to all such Obligations
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             U.S. jurisdiction, if any) and a certificate of good standing (where applicable, or such
             other customary functionally equivalent certificates, to the extent available in the
             applicable jurisdiction) from such Loan Party’s jurisdiction of organization and from
             each jurisdiction where such Loan Party’s ownership, lease or operation of properties
             or the conduct of its business requires such qualification, except to the extent that
             failure to so qualify in such jurisdiction could not reasonably be expected to have a
             Material Adverse Effect;

                     (vi)    a favorable opinion of (A) Skadden, Arps, Slate, Meagher & Flom LLP,
             special counsel to the Domestic Loan Parties, addressed to the Administrative Agent
             and each Domestic Lender, as to customary matters concerning the Domestic Loan
             Parties and the Loan Documents; (B) Fasken Martineau DuMoulin LLP, McInnes
             Cooper LLP, and other local counsel to the Canadian Loan Parties, addressed to the
             Administrative Agent and each Canadian Lender, as to customary matters concerning
             the Canadian Loan Parties and the Loan Documents; and (C) Nishimura & Asahi,
             special counsel to the Japanese Loan Parties, addressed to the Administrative Agent
             and each Japanese Lender, as to customary matters concerning the Japanese Loan
             Parties and the Loan Documents;

                      (vii)  a certificate signed by a Responsible Officer of the Borrower,
             satisfactory in form and substance to the Administrative Agent and the Required
             Lenders, certifying that the conditions in Sections 4.02(a) and 4.02(b) have been
             satisfied;

                      (viii) with respect to each Loan Party organized under the laws of Japan, (a)
             a certified copy of corporate registration (genzai jikou shoumei) in respect of such
             Loan Party and a certificate of seal registration issued in respect of such Loan Party
             by the competent legal affairs bureau in Japan, in each case no earlier than three
             months prior to the date of the initial Credit Extension, and (b) such other documents
             as may be requested by the Administrative Agent in order to comply with the Act on
             Prevention of Transfer of Criminal Proceeds;

                     (ix)     [reserved];

                    (x)     instruments evidencing the Interim Order Intercompany Loans in form
             and substance reasonably satisfactory to the Administrative Agent;

                     (xi)     executed counterparts of the Reaffirmation Agreement;

                     (xii)  all other Loan Documents set forth, each duly executed by the
             applicable Loan Parties;

                     (xiii)   [reserved];

                     (xiv)    [reserved];

                     (xv)     [reserved];


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                       (xvi)    (A) all UCC financing statements, PPSA financing statements and
              Australian PPSA financing statements, required by Law or reasonably requested by
              the Agents to be filed, registered or recorded to create, perfect or protect the Liens
              intended       to    be    created    under     the    Loan     Documents       and
              (B) all certificates of matters entered into the applicable registry in Japan to create,
              perfect or protect the Liens intended to be created under the Loan Documents or
              copies of applications for registration of such matters in form reasonably satisfactory
              to the Agents and, to the extent applicable with respect to any Liens intended to be
              created in any bank account, Account or insurance policy of a Loan Party in Japan, a
              consent letter from the account bank where such bank account is domiciled
              consenting to the creation of the Lien in respect of such bank account, Account
              debtor or insurer, as applicable; and

                      (xvii)   [reserved].

              (b)     Chief Restructuring Officer. A chief restructuring officer (“Chief Restructuring
      Officer”) acceptable to the Lenders shall be appointed with respect to the Borrowers (it being
      understood and agreed that the Acceptable Chief Restructuring Officer shall be acceptable to
      the Lenders).

             (c)    Legal Matters. All legal matters incident to this Agreement and the
      Borrowings hereunder shall be satisfactory to the Administrative Agent and the Lenders.

              (d)     Boardriders Waiver. The Boardriders Waiver shall be in full force and effect.

               (e)     Payment of Fees. The Borrowers shall have paid on before the Effective Date,
      in cash (i) all reasonable and documented costs, fees, disbursements and expenses of the
      Administrative Agent (including fees, costs, disbursements and expenses of (A) their outside
      counsel, Riemer & Braunstein LLP, and their local counsel (including, for the avoidance of
      doubt, foreign counsel) and (B) any professional advisors retained by Bank of America (or any
      Affiliate thereof) or their counsel and (ii) Allall fees required to be paid by the Borrowers to
      any of the Agents or the Arranger on or before the Effective Date shall have been paid in full,
      and all fees required to be paid by the Borrowers to the Lenders on or before the Effective
      Date shall have been paid in full.

             (f)     Borrowing Base Certificate. The Administrative Agent shall have received a
      Borrowing Base Certificate from each Borrower dated the Effective Date, relating to the
      month ended on [__________]immediately prior to the Petition Date, and executed by a
      Responsible Officer of the Lead Borrower or the Parent.

              (g)     [Reserved]

               (h)     DIP Term Facility.   An interim order approving the DIP Term on terms
      reasonably satisfactory to the Agent shall have been entered in the Cases, the DIP Term
      Facility shall be in full force and effect and the US Borrowers shall have received gross
      proceeds from the initial borrowing under the DIP Term Facility in the amount of $60,000,000
      (from which certain costs, expenses, fees and original issue discount shall be deducted).


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               (i)     KYC. The Administrative Agent and the Lenders shall have received all
      documentation and other information required by regulatory authorities under applicable
      “know your customer” and anti-money laundering rules and regulations including, without
      limitation, the Patriot Act.

               (j)    Motions and Documents. All material motions and other material documents
      to be filed with and submitted to the Bankruptcy Court (including any “first day” motions and
      proposed orders) related to the commencement of the Cases or transactions contemplated
      hereby and the other Loan Documents and the approval thereof shall be in form and
      substance reasonably satisfactory to the Lenders.

              (k)      Interim Order. The Interim Order shall provide that the Administrative Agent,
      for the benefit of the Credit Parties, shall have a valid and perfected Lien on and security
      interest in the Collateral on the basis and with the priority set forth herein.

              (l)     Liens. Each Order shall provide that the Administrative Agent, for the benefit
      of the Credit Parties, shall have a valid and perfected Lien on and security interest in the
      Collateral on the basis and with the priority set forth herein, subject to the DIP Intercreditor
      Agreement.

             (m)     Budget. The Agent shall have received the Budget reasonably acceptable to
      the Administrative Agent.

              (n)     [reserved].

             (o)    Petition Date.       The Petition Date shall have occurred on or before
      [________]September 9, 2015.

             (p)    Interim Order Date. The Interim Order shall have been filed on or before
      [____]September 11, 2015.

              (q)     Adequate Protection.

                      (i)     The Collateral Agent, for the benefit of the Existing ABL Lenders, shall
              have received adequate protection in respect of the Liens securing the Existing ABL
              Obligations and ABL Indemnity Obligations (as defined in the Orders), including
              among other things (i) replacement claims and liens, and (ii) a superpriority
              administrative expense claim against all Debtors, in each case junior only to the Liens
              and superpriority administrative expense claims under this Agreement granted and
              approved under the Orders; and

                       (ii)    The Existing Senior Secured Noteholders shall have each received
              adequate protection in respect of the liens securing the Existing Senior Secured Note
              Obligations, as applicable, including among other things (i) replacement claims and
              liens, and (ii) a superpriority administrative expense claim against all Debtors junior
              only to superpriority administrative expense claims under this Agreement and the DIP
              Term Loan Agreement.


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       hand of each of the Borrower and its Subsidiaries (broken out by entity) as of the close of
       business on such date;

               (k)     promptly, and in any event within five (5) Business Days after receipt thereof
       by any Loan Party or any Subsidiary thereof, copies of each notice or other correspondence
       received from any Governmental Authority (including, without limitation, the SEC (or
       comparable agency in any applicable non-U.S. jurisdiction)) concerning any proceeding with,
       or investigation or possible investigation or other inquiry by such Governmental Authority
       regarding financial or other operational results of any Loan Party or any Subsidiary thereof or
       any other matter which could reasonably be expected to have a Material Adverse Effect;

               (l)     promptly, written notice of any actions, suits, proceedings, claims or disputes
       (other than the Cases) pending or, to the knowledge of the Loan Parties threatened in
       writing, at law, in equity, in arbitration or before any Governmental Authority, against any
       Loan Party or any of its Subsidiaries or against any of its properties or revenues that (a)
       purport to affect or pertain to this Agreement or any other Loan Document, or any of the
       transactions contemplated hereby to occur on the Effective Date, or (b) either individually or
       in the aggregate, could reasonably be expected to have a Material Adverse Effect;

                (m)     contemporaneously with the delivery of the firsteach Borrowing Base
       Certificate in any calendar monthweek, a summary of the then Reported Fee Accruals as of
       the end of the previous calendar monthweek; and

               (n)    promptly, such additional information regarding the business affairs, financial
       condition or operations of any Loan Party or any Americas/Foreign Subsidiary, or compliance
       with the terms of the Loan Documents, as the Administrative Agent, the Collateral Agent, or
       any Lender (through the Administrative Agent) may from time to time reasonably request.

         The Loan Parties hereby acknowledge that (a) the Administrative Agent and/or MLPFS may, at
its sole discretion, make available to the Lenders and the L/C Issuer materials and/or information
provided by or on behalf of the Loan Parties hereunder (collectively, “Borrower Materials”) by
posting the Borrower Materials on Debt Domain, IntraLinks, Syndtrak or another similar electronic
system (the “Platform”) and (b) certain of the Lenders may be “public-side” Lenders (i.e., Lenders
that do not wish to receive material non-public information with respect to the Loan Parties or their
securities) (each, a “Public Lender”). The Loan Parties hereby agree that so long as any Loan Party is
the issuer of any outstanding debt or equity securities that are registered or issued pursuant to a
private offering they will use commercially reasonable efforts to identify that portion of the Borrower
Materials that may be distributed to the Public Lenders and that (w) the Lead Borrower shall use
commercially reasonable efforts to provide that such Borrower Materials shall be clearly and
conspicuously marked “PUBLIC” which, at a minimum, shall mean that the word “PUBLIC” shall
appear prominently on the first page thereof; (x) by marking Borrower Materials “PUBLIC,” the Loan
Parties shall be deemed to have authorized the Administrative Agent, MLPFS, the L/C Issuer and the
Lenders to treat such Borrower Materials as not containing any material non-public information
(although it may be sensitive and proprietary) with respect to the Loan Parties or their securities for
purposes of all applicable securities Laws; (y) all Borrower Materials marked “PUBLIC” are permitted
to be made available through a portion of the Platform designated “Public Investor”; and (z) the
Administrative Agent and MLPFS shall be entitled to treat any Borrower Materials that are not

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of nonpayment of premium except upon not less than ten (10) days’ prior written notice thereof by
the insurer to the Administrative Agent and, to the extent applicable, the Australian Security Trustee
(giving such Person the right to cure defaults in the payment of premiums) or (ii) for any other
reason except upon not less than thirty (30) days’ prior written notice thereof by the insurer to the
Administrative Agent and, to the extent applicable, the Australian Security Trustee. The Lead
Borrower shall deliver to the Agents, on or prior to (or with respect to the Japanese Loan Parties, as
soon as practically possible after) the date of the cancellation or expiration of any such policy of
insurance, or modification materially reducing the scope or amount of coverage of such policies of
insurance, a copy of any applicable renewal or replacement insurance certificate. Further, the
Japanese Loan Parties shall take such actions as may be required under the Japanese Security
Documents to continue the perfection of the Administrative Agent’s Lien in any such renewal policy.

                (c)     None of the Credit Parties, or their agents or employees shall be liable for
any loss or damage insured by the insurance policies required to be maintained under this Section
6.08. Each Loan Party shall look solely to its insurance companies or any other parties other than the
Credit Parties for the recovery of such loss or damage and such insurance companies shall have no
rights of subrogation against any Credit Party or its agents or employees. If, however, the insurance
policies do not provide waiver of subrogation rights against such parties, as required above, then the
Loan Parties hereby agree, to the extent permitted by law, to waive their right of recovery, if any,
against the Credit Parties and their agents and employees. The designation of any form, type or
amount of insurance coverage by the any Credit Party under this Section 6.08 shall in no event be
deemed a representation, warranty or advice by such Credit Party that such insurance is adequate for
the purposes of the business of the Loan Parties or the protection of their properties.

                (d)    Maintain for themselves and their Subsidiaries, a Directors and Officers
insurance policy with responsible companies in such amounts as are customarily and covering such
risks carried by business entities engaged in similar businesses similarly situated, and will upon
request by any Agent, furnish the Administrative Agent certificates evidencing renewal of each such
policy.

        6.09    Compliance with Laws. Comply, and cause each Subsidiary to comply, with the
requirements of all Laws and all orders, writs, injunctions and decrees applicable to it or to its
business or property, except in such instances in which (a)(i) such requirement of Law or order, writ,
injunction or decree is being contested in good faith by appropriate proceedings diligently conducted
and with respect to which adequate reserves have been set aside and maintained by the Loan Parties
in accordance with GAAP; and (ii) such contest effectively suspends enforcement of the contested
Laws, or (b) the failure to comply therewith could not reasonably be expected to have a Material
Adverse Effect. Nothing contained herein shall be deemed to limit the rights of the Agents with
respect to establishing or modifying Reserves in a manner permitted by this Agreement.

       6.10     Books and Records.

        (i) Maintain proper books of record and account, in which entries full, true and correct in all
material respects and in conformity with GAAP consistently applied shall be made of all financial
transactions and matters involving the assets and business of the Loan Parties or such Subsidiary, as
the case may be; and (ii) maintain such books of record and account in material conformity with all


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        6.12     Use of Proceeds. Use the proceeds of the Credit Extensions only (i) to finance: (i) the
repayment of certain indebtedness under the Existing ABL Credit Agreement (other than the
Japanese Liabilities, and it being agreed that any letters of credit issued for the account of the
Domestic Borrowers under the Existing ABL Credit Agreement shall be deemed issued hereunder),
including, without limitation, the Foreign Liabilities owed to General Electric Capital Corporation and
Wells Fargo Bank, National Association and their respective affiliates, (ii) the payment of transaction
expenses, (iii) the payment of fees, expenses and costs incurred in connection with the Cases, (iv) the
payment of any adequate protection payments approved in the Orders, and (v) in accordance with
the terms of the Orders, for working capital, capital expenditures, and other general corporate
purposes of the Domestic Loan Parties, in each case to the extent not prohibited under applicable
Law and the Loan Documents (including without limitation Bankruptcy Court-approved professional
fees and other administrative fees arising in the Cases).

        6.13     Additional Loan Parties.

                   (a)       Notify the Administrative Agent promptly after any Person becomes a
Domestic Subsidiary that is a direct Wholly Owned Subsidiary of any Domestic Loan Party (other than
any CFC or Subsidiary of a CFC), and promptly thereafter (and in any event within thirty (30) days or
such longer period as the Administrative Agent may agree), (a) cause any such Domestic Subsidiary
that is a direct Wholly Owned Subsidiary (other than any CFC or Subsidiary of a CFC) to (i) become a
Borrower or Guarantor by executing and delivering to the Administrative Agent a Joinder Agreement,
and, in the case of a Guarantor, a Facility Guaranty (or a counterpart or supplement thereto), (ii)
grant a Lien to the Administrative Agent on such Person’s assets to the extent required by the
Security Documents, and (iii) deliver to the Administrative Agent documents of the types referred to
in clauses (iii), (iv), (v), (v) and (xvi) of Section 4.01(a) and, if requested by the Administrative Agent,
customary opinions of counsel to such Person (which shall cover, among other things, the legality,
validity, binding effect and enforceability of the documentation referred to in clause (a)), and (b) if
any Equity Interests or Indebtedness of such Person are owned by any Domestic Loan Party, such
Domestic Loan Party shall pledge such Equity Interests and promissory notes evidencing such
Indebtedness (if any) (except that, if such Subsidiary is a CFC or a Subsidiary of a CFC, the Equity
Interests of such Subsidiary will not be required to be pledged), in the manner and format required
by the Pledge Agreement; provided that, no Equity Interests of any Foreign Subsidiary which is not a
Foreign Loan Party shall be required to be pledged.

                 (b)     Notify the Administrative Agent promptly after any Person becomes a
Subsidiary that is a direct Wholly Owned Subsidiary of any Foreign Loan Party (other than any
Subsidiary that is not organized under the Laws of Canada or any province thereof, Australia or
Japan), and promptly thereafter (and in any event within thirty (30) days or such longer period as the
Administrative Agent may agree), (a) cause any such Subsidiary that is a direct Wholly Owned
Subsidiary (other than any Subsidiary that is not organized under the Laws of Canada or any province
thereof, Australia or Japan)) to (i) become a Foreign Borrower or a Guarantor of the Foreign
Liabilities by executing and delivering to the Administrative Agent a Joinder Agreement and, in the
case of a Guarantor, a Facility Guaranty (or a counterpart or supplement thereto), (ii) grant a Lien to
the Administrative Agent on such Person’s assets (to the extent required by the Security Documents)
to secure the Foreign Liabilities by executing and delivering to the Administrative Agent, appropriate
Security Documents, and (iii) deliver to the Administrative Agent documents of the types referred to
in clauses (iii) and (iv) and (v) of Section 4.01(a) and, if requested by the Administrative Agent,

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receipts and collections of any Australian Loan Party and any Japanese Loan Party, the Administrative
Agent shall furnish the applicable Foreign Borrower with three (3) Business Days’ notice prior to such
application (unless an Event of Default then exists, in which case no such notice shall be required).

        (e)     In the event that, notwithstanding the provisions of this Section 6.14, any Loan Party
receives or otherwise has dominion and control of any such proceeds or collections (other than the
minimum balances for all DDAs to the extent permitted under this Section 6.14, Cash Equivalents
being held in accordance with the terms of the proviso at the end of the definition of “Permitted
Investments” and cash maintained in the cash registers in the Stores in the normal course of business
and consistent with past practices), such proceeds and collections shall be held in trust by such Loan
Party for the Administrative Agent or the Australian Security Trustee, as applicable, and shall not be
commingled with any of such Loan Party’s other funds or deposited in any account of such Loan Party
and shall, not later than the Business Day after receipt thereof, be deposited into the applicable
Concentration Account, or dealt with in such other fashion as such Loan Party may be instructed by
the Administrative Agent or the Australian Security Trustee, as applicable;

        (f)     Upon the request of the Administrative Agent, the Loan Parties shall cause bank
statements and/or other reports to be delivered to the Administrative Agent not less often than
monthly, accurately setting forth all amounts deposited in each Blocked Account and each Japanese
Depository Bank to ensure the proper transfer of funds as set forth above.  Subject to Section 8.02,
the Foreign Loan Parties may direct, and shall have sole control over, the manner of disposition of
funds in the Blocked Accounts maintained by each of them. Any amounts held or received in any
Concentration Account maintained for any Foreign Loan Party at any time (except as provided in
Section 8.02) shall be promptly remitted to an account of such Foreign Borrower or as such Foreign
Borrower may otherwise direct.

        (g)      Notwithstanding anything to the contrary herein contained, no Foreign Loan Party
shall enter into any cash pooling arrangement.

         (h)    Notwithstanding anything to the contrary contained herein or in any other Loan
Document, the obligation of the Domestic Loan Parties to enter into Blocked Account Agreements or
other control agreements with any Agent or otherwise grant any Agent control, in each case with
respect to any DDA, securities account or commodities account, shall not apply to any Term Loan
Priority Accounts, Existing ABL Credit Agreement Collateral Account.

        (i)    The Australian Borrower agrees that the amounts paid to it in discharge of all
Accounts and all proceeds of Collateral must be deposited into the Blocked Accounts held in the
name of the Australian Borrower with the Australian Security Trustee and identified in the general
security agreement between the Australian Borrower and the Australian Security Trustee dated 24
May 2013 or such other accounts which the Australian Security Trustee notifies the Australian
Borrower from time to time.

        6.15     Information Regarding the Collateral.

         Furnish to the Administrative Agent at least fifteen (15) days’ (or such shorter period as the
Administrative Agent shall agree) prior written notice of any change in: (i) any Loan Party’s legal
name; (ii) the location of any Loan Party’s chief executive office or its principal place of business, any
office in which it maintains books or records relating to Collateral owned by it or any office or facility
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included in the Borrowing Base, in each case, without the prior written consent of the Administrative
Agent or as required by GAAP.

       7.14     Deposit Accounts; Credit Card Processors.

               (a)     In the case of any Loan Party (other than the Japanese Loan Parties, as to
       which clause (b) below shall apply), open new Blocked Accounts or engage any new Credit
       Card Issuers or Credit Card Processors unless such Loan Party shall have delivered to the
       Administrative Agent or the Australian Security Trustee, as applicable, appropriate Blocked
       Account Agreements or Credit Card Notifications, as applicable, consistent with the provisions
       of Section 6.14 or otherwise reasonably satisfactory to the Agents.

               (b)     In the case of any Japanese Loan Party (i) open any new Blocked Accounts or
       other DDAs (other than with an existing Japanese Depository Bank) unless such Japanese
       Loan Party has provided the Administrative Agent with five (5) Business Days’ prior notice
       thereof (any such new depository with whom a new DDA is opened by any of the Japanese
       Loan Parties shall constitute a Japanese Depository Bank for all purposes of this Agreement
       and shall be subject to the provisions of Section 6.14 hereof) and has taken all such actions
       as may be required with respect to any such DDA pursuant to the Japanese Security
       Documents, or (ii) engage any new Credit Card Issuers or Credit Card Processors, or
       terminate, or permit the termination of, the appointment of JMS Co., Ltd. as its collection
       agent with respect to any Credit Card Processors or Credit Card Issuers for the account of the
       Japanese Loan Parties, or engage any new collection agent, unless such Japanese Loan Party
       has provided the Administrative Agent with five (5) Business Days’ prior written notice
       thereof and has delivered to the Administrative Agent copies of Credit Card Notifications,
       which have been executed on behalf of such Japanese Loan Party and delivered to the
       applicable Credit Card Processors, Credit Card Issuers and/or collection agent, in substantially
       the forms delivered by the Japanese Borrower on the Effective Date (or such other form as
       the Administrative Agent may reasonably request in light of the circumstances) and has taken
       all such actions as may be required with respect thereto pursuant to the Japanese Security
       Documents, and provided that, such Japanese Loan Party shall use commercially reasonable
       efforts to deliver to the Administrative Agent, within sixty (60) days following the date of
       each such Credit Card Notification, in form and substance reasonably satisfactory to the
       Administrative Agent, waivers and acknowledgments with respect to any such Credit Card
       Processors, Credit Card Issuers and/or collection agents.

       7.15     [Reserved].

        7.16    Limitation on the Creation of Subsidiaries. Establish, create or acquire after the
Effective Date any Domestic Subsidiary.

       7.17     Anti-Social Force.

       Become an Anti-Social Force.

        7.18   Chapter 11 Claims. Until payment in full of the Obligations under this Agreement
(other than contingent indemnification Obligations to the extent no claim giving rise thereto has been
asserted), except for and to the extent permitted under the Carve-Out and the Priority Permitted
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         10.05 Reinstatement; Payments Set Aside. This Agreement shall remain in full force and
effect and continue to be effective should any petition be filed by or against any Loan Party for
liquidation or reorganization or otherwise under any Debtor Relief Law, should any Loan Party
become insolvent or make an assignment for the benefit of any creditor or creditors or should a
receiver, interim receiver, receiver and manager, Controller, trustee, monitor, custodian, conservator,
liquidator, rehabilitator or similar officer be appointed for all or any significant part of any Loan
Party's assets, and shall continue to be effective or to be reinstated, as the case may be, if at any
time payment and performance of the Obligations, or any part thereof, is, pursuant to applicable
Law, rescinded or reduced in amount, or must otherwise be restored or returned by any obligee of
the Obligations, whether as a "voidable preference”, "fraudulent conveyance”, or otherwise, all as
though such payment or performance had not been made. To the extent that any payment by or on
behalf of the Loan Parties is made to any Credit Party, or any Credit Party exercises its right of setoff,
and such payment or the proceeds of such setoff or any part thereof is subsequently invalidated,
declared to be fraudulent or preferential, set aside or required (including pursuant to any settlement
entered into by such Credit Party in its discretion) to be repaid to a receiver, interim receiver,
receiver and manager, Controller, trustee, monitor, custodian, conservator, liquidator, rehabilitator or
similar officer, or any other party, in connection with any proceeding under any Debtor Relief Law or
otherwise, then (a) to the extent of such recovery, the obligation or part thereof originally intended
to be satisfied shall be revived and continued in full force and effect as if such payment had not been
made or such setoff had not occurred, (b) each Domestic Lender and the L/C Issuer (with respect to
Domestic Letters of Credit) severally agrees to pay to the Agents upon demand its Applicable
Percentage (without duplication) of any amount so recovered from or repaid by the Agents, plus
interest thereon from the date of such demand to the date such payment is made at a rate per
annum equal to the applicable Overnight Rate from time to time in effect, in the applicable currency
of such recovery or payment, and (c) each Foreign Lender and the L/C Issuer (with respect to Foreign
Letters of Credit) severally agrees to pay to the Administrative Agent upon demand its Applicable
Percentage (without duplication) of any amount so recovered from or repaid by the Administrative
Agent, plus interest thereon from the date of such demand to the date such payment is made at a
rate per annum equal to the applicable Overnight Rate from to time in effect, in the applicable
currency of such recovery or payment. The obligations of the Lenders and the L/C Issuer under
clause (b) and clause (c) of the preceding sentence shall survive Payment in Full and the termination
of this Agreement.

        10.06   Successors and Assigns.

                 (a)     Successors and Assigns Generally. The provisions of this Agreement shall be
binding upon and inure to the benefit of the parties hereto and their respective successors and
assigns permitted hereby, except that no Loan Party may assign or otherwise transfer any of its rights
or obligations hereunder or under any other Loan Document without the prior written Consent of the
Administrative Agent and each Lender and no Lender may assign or otherwise transfer any of its
rights or obligations hereunder except (i) to an Eligible Assignee in accordance with the provisions of
Section 10.06(b), (ii) by way of participation in accordance with the provisions of Section 10.06(e), or
(iii) by way of pledge or assignment of a security interest subject to the restrictions of Section
10.06(g) (and any other attempted assignment or transfer by any party hereto shall be null and void).
Nothing in this Agreement, expressed or implied, shall be construed to confer upon any Person
(other than the parties hereto, their respective successors and assigns permitted hereby, Participants
to the extent provided in subsection (ie) of this Section and, to the extent expressly contemplated

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                                                   BANK OF AMERICA, N.A., as
                                                   Administrative Agent and as a, as Collateral
                                                   Agent and as Australian Security Trustee

                                                   By:
                                                   Name: Roger Malouf
                                                   Title:   Vice President




                      Signature Page to Second Amended and Restated and
            and Senior Secured Super-Priority Debtor-In-Possession Credit Agreement

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                 and Senior Secured Super-Priority Debtor-In-Possession Credit Agreement

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          Litéra® Change-Pro TDC 7.5.0.155 Document comparison done on
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      Style name: Option 3 Strikethrough Double Score
      Intelligent Table Comparison: Active
      Original filename: ABL DIP Credit Facility.doc
      Modified filename: FINAL -- Second AR _ DIP Credit Agreement --
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      Changes:
      Add                                                     102
      Delete                                                  103
      Move From                                               1
      Move To                                                 1
      Table Insert                                            0
      Table Delete                                            0
      Table moves to                                          0
      Table moves from                                        0
      Embedded Graphics (Visio, ChemDraw, Images etc.)        0
      Embedded Excel                                          0
      Format changes                                          5
      Total Changes:                                          212




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